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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


ANALOG DEVICES, INC. and HITTITE
MICROWAVE LLC,
     Plaintiffs,

               v.                                     C.A. No. 1:18-cv-11028-GAO

MACOM TECHNOLOGY SOLUTIONS
HOLDINGS, INC. and MACOM
TECHNOLOGY SOLUTIONS INC.,
     Defendants.


         DECLARATION AND CERTIFICATE OF SARAH E. STAHNKE, ESQ.

       I, Sarah E. Stahnke, being duly sworn, depose and say:

       1.      I am an associate with the law firm of Perkins Coie LLP, which is located at 3150

Porter Drive, Palo Alto, California 94304-1212, and have practiced law since 2009.

       2.      I am admitted to practice law in California and am a member in good standing of

the bar of the State of California, as well as the U.S. Patent and Trademark Office.

       3.      I have not previously had a pro hac vice admission to this court (or other

admission for a limited purpose under Local Rule 83.5) revoked for misconduct, and there are no

disciplinary proceedings pending against me in any jurisdiction.

       4.      I have not been disciplined or denied admission by this Court or any other court.

       5.      I have read and agree to comply with the Local Rules of the United States District

Court for the District of Massachusetts.

       I declare under penalty of perjury that the foregoing is true and correct this 7th day of

June, 2018.

                                              /s/ Sarah E. Stahnke_______
                                              Sarah E. Stahnke
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                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing and
paper copies will be sent to those indicated as non-registered participants on June 7, 2018

                                              /s/ C. Max Perlman
                                              C. Max Perlman




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